           Case 8:22-bk-10948-SC                   Doc 11 Filed 06/08/22 Entered 06/08/22 13:42:57                                      Desc
                                                    Main Document    Page 1 of 3

Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Ron Bender (SBN 143364)
Krikor J. Meshefejian (SBN 255030)
Lindsey L. Smith (265401)
Levene, Neale, Bender, Yoo & Golubchik L.L.P.
2818 La Cienega Avenue
Los Angeles, CA 90034
Tel: (310) 229-1234
Fax: (310) 229-1244
Email: rb@lnbyg.com; kjm@lnbyg.com; lls@lnbyg.com


     Individual appearing without attorney
     Attorney for: Chapter 11 Debtors in Possession

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                      DIVISION

 In re:                                                                      CASE NO.: 8:22-bk-10948-SC
TRX HOLDCO, LLC                                                              CHAPTER: 11
_____________________________________________
                                                                                        STATEMENT REGARDING
FITNESS ANYWHERE LLC                                                                     CASH COLLATERAL OR
_____________________________________________                                       DEBTOR IN POSSESSION FINANCING
                                                                                         [FRBP 4001; LBR 4001-2]
X Affects both Debtors
                                                                             DATE:                 06/10/2022
                                                                             TIME:                 10:00 a.m.
                                                                             COURTROOM:            5C (Via ZoomGov)
                                                                             ADDRESS:              411 West Fourth Street
                                                              Debtor(s).                           Santa Ana, CA 92701



 Secured party(ies): Woodforest National Bank


The Debtor has requested the approval of either (1) a motion for use of cash collateral, or postpetition financing, or both,
or (2) through a separately-filed motion, a stipulation providing for the use of cash collateral, or postpetition financing, or
both. The proposed form of order on the motion or the stipulation contains the following provisions or findings of fact:
                                                                                                                           Page           Line No.
             Disclosures Tracking FRBP 4001(c)(1)(B)(i) through (xi) and (d)(1)(B)
                                                                                                                           No.:         (if applicable)
          (i): “[A] grant of priority or a lien on property of the estate under § 364(c) or (d)”
          (ii): “[T]he providing of adequate protection or priority for a claim that arose before the
          commencement of the case, including the granting of a lien on property of the estate                                                   8
          to secure the claim, or the use of property of the estate or credit obtained under § 364
          to make cash payments on account of the claim”
                   Cross-collateralization, i.e., clauses that secure prepetition debt by postpetition
                   assets in which the secured party would not otherwise have a security interest
                   by virtue of its prepetition security agreement or applicable law
                   Roll-up, i.e., provisions deeming prepetition debt to be postpetition debt or using
                   postpetition loans from a prepetition secured party to pay part or all of that
                   secured party’s prepetition debt, other than as provided in § 552(b)
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                           Page 1                                           F 4001-2.STMT.FINANCE
        Case 8:22-bk-10948-SC                   Doc 11 Filed 06/08/22 Entered 06/08/22 13:42:57                                      Desc
                                                 Main Document    Page 2 of 3

 Continued from page 1
             Grant a replacement lien in an amount in excess of the dollar amount of the lien
             on cash collateral as of the petition date
       (iii): “[A] determination of the validity, enforceability, priority, or amount of a claim that
       arose before the commencement of the case, or of any lien securing the claim”
       (iv): “[A] waiver or modification of Code provisions or applicable rules relating to the
       automatic stay”
               Automatic relief from the automatic stay upon occurrence of certain events.
       (v): “[A] waiver or modification of any entity’s authority or right to file a plan, seek an
       extension of time in which the debtor has the exclusive right to file a plan, request the
       use of cash collateral under § 363(c), or request authority to obtain credit under § 364”
       (vi): “[T]he establishment of deadlines for filing a plan of reorganization, for approval of
       a disclosure statement, for a hearing on confirmation, or for entry of a confirmation
       order”
       (vii): “[A] waiver or modification of the applicability of nonbankruptcy law relating to the
       perfection of a lien on property of the estate, or on the foreclosure or other
       enforcement of the lien”
       (viii): “[A] release, waiver, or limitation on any claim or other cause of action belonging
       to the estate or the trustee, including any modification of the statute of limitations or
       other deadline to commence an action”
       (ix): “[T]he indemnification of any entity”
       (x): “[A] release, waiver, or limitation of any right under § 506(c)”
              The granting of any lien on any claim or cause of action arising under § 506(c)
       (xi): “The granting of any lien on any claim or cause of action arising under §§ 544,
       545, 547, 548, 549, 553(b), 723(a), or 724(a)”
                                                                                                                        Page           Line No.
                        Additional Disclosures Required by LBR 4001-2
                                                                                                                        No.:         (if applicable)
       With respect to a professional fee carve out, disparate treatment for professionals
       retained by a creditors’ committee from that provided for the professionals retained by
       the debtor
       Pay down prepetition principal owed to a creditor
       Findings of fact on matters extraneous to the approval process




 06/08/2022         Krikor J. Meshefejian                                            /s/ Krikor J. Meshefejian
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                        Page 2                                           F 4001-2.STMT.FINANCE
        Case 8:22-bk-10948-SC                      Doc 11 Filed 06/08/22 Entered 06/08/22 13:42:57                                     Desc
                                                    Main Document    Page 3 of 3



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034


A true and correct copy of the foregoing document entitled (specify): STATEMENTREGARDING CASH COLLATERAL
OR DEBTOR IN POSSESSION FINANCING [FRBP 4001; LBR 4001-2] will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 8, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 8, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 8, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

                                                               Service information BY OVERNIGHT MAIL continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 8, 2022                 Lourdes Cruz                                                      /s/ Lourdes Cruz
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
